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VODENERRY PETTIGN

United States Bankruptey Court
Northern District of Texas
Dallas Division

VOLUNTARY PETITION

Name of Debtor (if individual, enter Last, First, Middle):
HOPS OF IDAHO, LTD.

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by Debtor in the last 6 years
(include married, maiden, and trade names):
Hops Restaurant Bar & Brewery

All Other Names used by Joint Debtor in the last 6 years
(include married, maiden, and trade names):

Soc. Sec./Tax ID. No. (if more than one, state all):
XX-XXXXXXX

Soc. Sec./Tax I.D. No. (if more than one, state all):

Street Address of Debtor (No. & Street, City, State & Zip Code):
Hancock at Washington
Madison, Georgia 30650

Street Address of Debtor (No. & Street, City, State & Zip Code):

County of Residence or of the
Principal Place of Business:
Morgan County

County of Residence or of the
Principal Place of Business:

Mailing Address of Debtor (if different from street address):

Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor
(if different from addresses listed above):

INFORMATION REGARDING DEBTOR (Check the Applicable Boxes)

Venue (Check any applicable box)

or for a longer part of such 180 days than in any other District.

0 Debtor has been domiciled or has had a residence, principal place of business or principal assets in this District for 180 days immediately preceding the date of this petition

& There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

Type of Debtor (Check all boxes that apply)
D Railroad
0 Stockbroker
O Commodity Broker

O Individual
0 Corporation
& Partnership
0 Other

Nature of Debts (Check one box)
O Consumer/Non-Business ® Business

Chapter or Section of Bankruptcy Code Under Which
the Petition Is Filed (Check one box)
0 Chapter 7 & Chapter 11 O Chapter 13
O Chapter 9 DO Chapter 12
OQ Sec. 304-Case ancillary to foreign proceeding

Chapter 11 Small Business (Check all boxes that apply)
O Debtor is a small business as defined in 11 U.S.C. § 101.
Q Debtor is and elects to be considered a small business under
11 U.S.C. § 1121(e). (optional)

Filing Fee (Check one box)
® Full Filing Fee attached.
QO Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration certifying that the

debtor is unable to pay fee except in installments. Rule 1006(b). See Official
Form No. 3.

Statistical/Administrative Information(Estimates only) THIS SPACE IS FOR COURT USE
& Debtor estimates that funds will be available for distribution to unsecured creditors. ONLY
O Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
be no funds available for distribution to unsecured creditors
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999 1,000-over*
Oo Oo O oO Oo wg

Estimated Assets
$0 to $50.00! to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

O O O Oo 0 oO O 8
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to $1,000.00! to $10,000,005 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

oO oO oO Oo oO oO oO ®

* The estimates reflect consolidated information from Avado Brands, Inc. and its affiliates (collectively, the "Avado Entities", listed on the
attached anh A) filing voluntary petitions with the United States Bankruptcy Court for the Northern District of Texas - Dallas Division

on February LY, 2004.

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VOLUNTARY PETITION VOCUTTENT NE RURboiblse Form B1, Page 2
(This page must be completed and filed in every case) HOPS OF IDAHO, LTD.

, Prior Bankruptcy Case Filed Within Last:6 Years (if more than one, attach additional sheet)
Location Case Number: Date Filed:

Where Filed: None

Pending Bankruptcy Case Filed by Any Spouse, Partner, or Affiliate of this Debtor (1f more than one,

attach additional sheet.)

IName of Debtor: See Annex A Case Number: Date Filed:
District: Relationship: Judge:
SIGNATURES |

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is
true and correct.
(If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
lor 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.
I request relief in accordance with the chapter of title 11, United States Code, speci-
fied in this petition.

x
Signature of Debtor

xX
Signature of Joint Debtor

Telephone Number (If not represented by attorney)

Date

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of the
debtor.

srdance with the chapter of title 11, United States

CI’)

x LAA
Signatureof Authofjeéd Individual $7 (

Kevin J. Leary
Name of Authorized Individual

Code,

Authorized Signatory for Hops of Idaho, Ltd.
Title of Authorized Individual

February f. 2004
Date

ZS Signature of Attorney
ee

Signature Attorney Be Debtor(s)

George N. Panagakis
Printed Name of Attorney for Debtor(s)

Skadden, Arps, Slate, Meagher & Flom LLP
Firm Name

333 W. Wacker Drive, Chicago, IL_ 60606-1285
[Address

(312) 407-0700
Telephone Number

February 2004
Date

Signature of Non-Attorney Petition Preparer

I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I
prepared this document for compensation, and that I have provided the debtor with a
copy of this document.

Printed Name of Bankruptcy Petition Preparer

Social Security Number

Address

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document:

EXHIBIT A
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11)

O Exhibit A is attached and made a part of this petition.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

xX
Signature of Bankruptcy Petition Preparer

EXHIBIT B
(To be completed if debtor is an individual whose debts are primarily consumer debts)
I, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of
title 11, United States Code, and have explained the relief available under each such
chapter.

Xx

Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or imprison-
ment or both 11 U.S.C. § 110; 18 U.S.C.§ 156.

Signature of Attorney tor Debtor(s) Date

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
wee ee eee eee ee ee Ke eR ee ee ee ee Ue x
In re :
: Chapter 11
HOPS OF IDAHO, LTD., :
: Case No. 04- ( )
Debtor. :
wee eee ee ee ee eee ee ee ee ee ee ee x

CONSOLIDATED LIST OF CREDITORS HOLDING 50 LARGEST
UNSECURED CLAIMS

A list of the creditors holding the 50 largest unsecured claims against
Hops of Idaho, Ltd., and certain of its subsidiaries and affiliates, (collectively, the
"Avado Entities") was included with the petition of Don Pablo's of Texas, LP.
The list has been prepared on a consolidated basis, based upon the books and
records of the Avado Entities, all of which have contemporaneously commenced
chapter 11 cases in this Court. The information presented in the list shall not
constitute an admission by, nor is it binding on, the Avado Entities. !

The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for
filing in this chapter 11 case. The list does not include (1) persons who come
within the definition of "insider" set forth in 11 U.S.C. § 101 or (2) secured
creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 50 largest unsecured claims.’

The Avado Entities may file the schedules of assets and liabilities (the “Schedules”) in accordance with 11 U.S.C. § 52] and
Fed. R. Bankr. P. 1007. The information contained in the Schedules may differ from the information set forth below.

The Avado Entities have not yet identified all of the 50 largest unsecured claims, if any, that are contingent, unliquidated,
disputed and/or subject to setoff. The Avado Entities reserve the right to identify any of the 50 largest unsecured claims in
their Schedules as contingent, unliquidated, disputed and/or subject to setoff, as appropriate.

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RESOLUTIONS OF HOPS OF IDAHO, LTD.

Dated as of February 4, 2004

Pursuant to Section 620.125 of the Florida Revised Uniform
Limited Partnership Act and the Agreement of Limited Partnership of Hops of
Idaho, Ltd., a Florida Limited Partnership (the "Limited Partnership"), the under-
signed, as sole general partner of the Limited Partnership (the "General Partner"),
does hereby adopt the following Resolutions:

WHEREAS, the General Partner has been presented
with a proposed petition to be filed by the Limited Partnership
in the United States Bankruptcy Court for the Northern District
of Texas - Dallas Division (the "Bankruptcy Court") seeking
relief under the provisions of chapter 11 of title 11 of the United
States Code, in which the authority to operate as a debtor-in-
possession will be sought; and

WHEREAS, the General Partner has reviewed the
proposed petition and wishes to take actions that are in the best
interests of the Limited Partnership, its creditors, its partners
and other interested parties.

NOW THEREFORE, BE IT RESOLVED, that in the
Judgment of the General Partner it is desirable and in the best
interests of the Limited Partnership, its creditors, its partners
and other interested parties, that a petition be filed by the Lim-
ited Partnership in the Bankruptcy Court seeking relief under
the provisions of chapter 11 of title 11 of the United States
Code (the "Bankruptcy Code"), in which the authority to operate
as a debtor-in-possession will be sought, and the filing of such
petition is authorized hereby; and it is further

RESOLVED, that each of Kevin J. Leary, Michael A.
Feder, Louis J. Profumo and Edward M. Burr be appointed by
the General Partner as an authorized signatory (each, an "Autho-
rized Signatory") and a Vice President and Assistant Secretary
in connection with the chapter 11 case authorized herein; and it
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is further

RESOLVED, that each Authorized Signatory and each
officer of the Limited Partnership, together with any other
person or persons hereafter designated by the General Partner,
or any one of such persons (each, individually, an "Authorized
Officer," and, individually and collectively, the "Authorized
Officers") be, and each of them hereby is, authorized, empow-
ered and directed, on behalf of the Limited Partnership, to
execute and verify a petition in the name of the Limited Partner-
ship under chapter 11 of the Bankruptcy Code and to cause the
same to be filed in the Bankruptcy Court in such form and at
such time as the Authorized Officer executing said petition on
behalf of the Limited Partnership shall determine; and it is
further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized, directed and empowered, on
behalf of and in the name of the Limited Partnership, to execute
and/or file, or cause to be executed and/or filed (or to direct
others to do so on their behalf as provided herein) all necessary
documents including, but not limited to, all petitions, affidavits,
schedules, motions, lists, applications, pleadings and other
papers, and in that connection to employ and retain all assis-
tance by legal counsel, accountants or other professionals and to
take any and all other action, that they or any of them deem
necessary, proper or desirable in connection with the chapter 11
case contemplated hereby, with a view to the successful prose-
cution of such case; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Limited Partnership, to take or cause to be
taken, from time to time, any and all such further action and to
execute and deliver, or cause to be executed and delivered, all
such further agreements, documents, certificates and undertak-
ings including, but not limited to, amendments to the documents
contemplated hereby following the effectiveness thereof, and to
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incur all such fees and expenses as in their judgment shall be
necessary, appropriate or advisable, to effectuate the purpose
and intent of the foregoing resolutions; and it is further

RESOLVED, that the Limited Partnership as debtor and
debtor-in-possession under chapter 11 of the Bankruptcy Code
be, and it hereby is, authorized to enter into a debtor-in-posses-
sion financing facility, and in connection therewith, to grant any
guarantees, pledges, mortgages, and other security instruments
containing such provisions, terms, conditions, covenants, war-
ranties and representations as may be deemed _ necessary or
appropriate by any Authorized Officer to obtain such debtor-in-
possession financing for the Limited Partnership or its subsid-
iaries and affiliates; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered to execute, de-
liver, and perform for and on behalf of the Limited Partnership,
as debtor and debtor-in-possession, any documents, agreements,
guaranties, instruments, financing statements, undertakings and
certificates necessary or appropriate to facilitate the transactions
contemplated by the foregoing resolution including, but not
limited to, any credit agreement, promissory note, letter of credit
application, or other document evidencing the obligations of the
Limited Partnership under the debtor-in-possession financing,
and any modifications or supplements thereto, all such materials
to be in the form approved by such Authorized Officers, the
execution and delivery thereof to be conclusive evidence of
such approval; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized and empowered for and in the
name and on behalf of the Limited Partnership to amend, sup-
plement or otherwise modify from time to time the terms of any
documents, certificates, instruments, agreements or other writ-
ings referred to in the foregoing resolutions; and it is further

RESOLVED, that the law firm of Skadden, Arps, Slate,
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Meagher & Flom LLP, 333 West Wacker Drive, Chicago,
Illinois 60606-1285, and its affiliated law practice entities be,
and hereby are, employed under a general retainer as attorneys

for the Limited Partnership in the chapter 11 case; and it is
further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Limited Partnership, to retain such other profes-
sionals as they deem appropriate during the course of the chap-
ter 11 case; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized, in the name and on behalf of the
Limited Partnership, to take or cause to be taken any and all
such further action and to execute and deliver or cause to be
executed or delivered all such further agreements, documents,
certificates and undertakings, and to incur all such fees and
expenses as in their judgment shall be necessary, appropriate or
advisable to effectuate the purpose and intent of any and all of
the foregoing resolutions; and it is further

RESOLVED, that all acts lawfully done or actions
lawfully taken by any Authorized Officer to seek relief on
behalf of the Limited Partnership under chapter 11 of the Bank-
ruptcy Code, or in connection with the chapter 11 case, or any
matter related thereto, including in connection with the debtor-
in-possession financing, be, and they hereby are, adopted, rati-
fied, confirmed and approved in all respects as the acts and
deeds of the Limited Partnership.

When signed by the General Partner, these resolutions
shall be effective as of the date first written above.
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IN WITNESS WHEREOF, the undersigned has executed these

Resolutions of the General Partner as of the date first written above.

432819-Chicago S2A

General Partner:
Hops Grill & Bar, Inc. ,

By: hE.

Perey V. Alliams

Sénior YWice President and
ecretary

